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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

) Cr. No. 3-20 7-7
Judge LYDS
)

Magistrate Judge Keith A. Pesto

UNITED STATES OF AMERICA

lexus Broly

MAGISTRATE JUDGE’S REPORT OF ARRAIGNMENT ~

Government:

1. Date of Arraignment: Ett [626

 

 

 

2, Defendant is: incarcerated.
c on bond,
3, Defendant entered a plea of _not guilty .
4, The parties were advised that all pretrial motions must filed within forty-five (45) days.
A Rule 16 conference: has been held.
has not been held.
6. Discovery is completed not completed.
7. Defendant has requested to be tried by: x J ury

Non-Jury
8. All parties have been advised that the matter:
has been scheduled for trial for
% has not been scheduled for trial.

has not been scheduled for trial, but will be notified.

9, Estimated trial length: Fab .

10. Defendant: ¥ has been processed by U.S. Marshal.

has not been processed by U.S. Marshal, but has been
advised to be processed.

Keith A. Pesto
United States Magistrate Judge
